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                        Exhibit B
                         Redline
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

BOY SCOUTS OF AMERICA AND                                         Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.
                                                                  Re: D.I. 2618


               ORDER (I) SCHEDULING CERTAIN DATES AND DEADLINES IN
              CONNECTION WITH CONFIRMATION OF THE DEBTORS’ PLAN OF
             REORGANIZATION, (II) ESTABLISHING CERTAIN PROTOCOLS, AND
                           (III) GRANTING RELATED RELIEF
           Upon the motion (the “Motion”) of Boy Scouts of America (“BSA”) and Delaware BSA,

LLC, the non-profit corporations that are debtors and debtors in possession in the

above-captioned chapter 11 cases (together, the “Debtors”), for entry of an order (i) scheduling

certain dates and deadlines in connection with confirmation of the Plan and all related discovery,

(ii) establishing the Protocols, and (iii) granting related relief, all as more fully set forth in the

Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. § 1334(b), and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and consideration of

the Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the Motion having been provided, and it appearing that no other or further notice

need be provided; and this Court having held a hearing to consider the relief requested in the

Motion and other related issues; and the Court having determined that the legal and factual bases

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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set forth in the Motion establish just cause for the relief granted herein; and it appearing that the

relief requested in the Motion is in the best interests of the Debtors, their estates, creditors, and

all parties in interest; and all objections to the start date for the Confirmation Hearing having

been overruled; and upon all of the proceedings had before the Court and after due deliberation

and sufficient cause appearing therefor,


       IT IS HEREBY ORDERED THAT


       1.      The Motion is GRANTED as set forth herein. The schedule set forth below shall

govern discovery in connection with confirmation of the Plan (the “Confirmation

Proceedings”) and the protocols set forth below shall govern discovery in connection with the

Confirmation Proceedings (the “Protocols”).


       2.      The Insurers and the TCC objected, and continue to object, to the January 24,

2022 start date for the Confirmation Hearing and, by definition, all interim dates proposed by the

Debtors. Nevertheless, the Insurers and the TCC met-and-conferred in good faith with the

Debtors and others and do not object to the form of the proposed scheduling order based on the

Court’s having previously ordered that the Confirmation Hearing will start on January 24. For

the avoidance of doubt, all objections to the Debtors’ proposed interim dates are overruled.

Century’s objections to the confirmation schedule, its start date and the schedule within the start

date are overruled.


       3.      Any party in interest that intends to participate in the Confirmation Proceedings (a

“Proposed Participant”) must first file with the Court a notice indicating such intent (a “Notice

of Intent”) at any time prior to the close of the Confirmation Proceedings, in accordance with the

form attached to the Motion as Exhibit B. However, each Proposed Participant who then



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becomes a Participating Party must comply with and will be bound by all deadlines and other

provisions set forth in the Confirmation Scheduling Order and shall not be allowed to reopen any

deadlines that have already passed, absent (a) consent of the Debtors and other Participating

Parties or (b) further order of the Court.

           4.       The Debtors and other Participating Parties shall, within five (5) days of the filing

of any Notice of Intent, have the right to object to that Notice of Intent on any grounds, including,

but not limited to, that the Notice of Intent is intended solely for purposes of harassment, was

filed by persons that are not parties in interest within meaning of section 1109 of the Bankruptcy

Code, does not comply with the terms of the this Order, or does not demonstrate a legally

cognizable interest in the Confirmation Proceedings. This shall be the only means by which the

Debtors or other Participating Parties may challenge the Notice of Intent of a Proposed

Participant; however, it shall be without prejudice to the Debtors’ or other Participating Parties’

rights to raise similar objections in other contexts, including, but not limited to, in connection

with any specific discovery request or briefing. No Proposed Participant shall be deemed a

Participating Party unless (a) no objection is filed within five (5) days of the filing of the

Proposed Participant’s Notice of Intent or (b) if an objection to the Notice of Intent is filed, the

Court overrules such objection.

           5.       Only a Proposed Participant who files a Notice of Intent, as to which no objection

is timely filed or an objection is filed but is overruled by the Court, may take part in the

Confirmation Proceedings, including, without limitation, discovery and presentation of evidence

at or in connection with the Confirmation Proceedings (each such party, a “Participating

Party”).2 The Participating Parties shall automatically include, without the need to file a Notice

2
      The Court retains discretion to allow (i) pro se parties and (ii) parties who have not participated in these Chapter
    11 Cases as of the entry of this Order to participate in the Confirmation Proceedings.


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of Intent: (a) the Debtors, (b) the U.S. Trustee, and (c) the Mediation Parties.23

 Each Participating Party will be bound by the terms of the Order Approving Confidentiality and

Protective Order [D.I. 799] entered in these Chapter 11 Cases.

           6.       The following dates and deadlines shall govern discovery in connection with

confirmation (such dates and deadlines, the “Confirmation Schedule”):




23
        The Mediation Parties as defined shall include: (a) the Debtors; (b) the Ad Hoc Committee; (c) FCR; (d) the
     TCC and its members; (e) the UCC and its members; (f) the following insurers: The Chubb Group of Insurance
     Companies, The Hartford Companies, Allianz Global Risks US Insurance Company, National Surety
     Corporation, Liberty Mutual Insurance Company, and American International Group, Inc. Entities, Agricultural
     Insurance Company, Aspen Insurance Holdings, Limited, AXA XL Insurance, CNA Insurance Companies, Genera
     l Star Indemnity Company, Markel Insurance Company, Arrowood Indemnity Company, Old Republic Insurance
     Company, Travelers Indemnity Company, Colony Insurance Company, Argonaut Insurance Company, Clarendon
     America Insurance Company, American Zurich Insurance Company, American Guarantee and Liability Insurance
     Company, Steadfast Insurance Company, Maryland Casualty Company, Maryland American General Group, and
     American General Fire & Casualty Company, Munich Re, Traders and Pacific Insurance Company, Endurance
     American Specialty Insurance Company, and Endurance American Insurance Company; (g) the Coalition; (h) JPM
      Chase Bank, N.A.; (i) the Corporation of the President of the Church of Jesus Christ of Latter-day Saints; (j) the
     United Methodist Ad Hoc Committee; (k) the Roman Catholic Ad Hoc Committee; (l) Catholic Mutual Relief
     Society of America; (m) the Episcopal Church; (n) the Domestic and Foreign Missionary Society of the Protestant
     Episcopal Church in the United States of America; (o) Roman Catholic Diocese of Brooklyn, New York; (p)
     Roman Catholic Archbishop of Los Angeles, a corporation sole; (q) Roman Catholic Diocese of Dallas, a Texas
     non-profit corporation; (r) Archdiocese of Galveston-Houston; (s) Diocese of Austin; (t) Zalkin Law Firm, P.C.;
     and (u) Pfau Cochran Vertetis Amala PLLC. See Amended Disclosure Statement for the Fifth Amended Chapter 1
     1 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 6213] (the “Disclosure
     Statement”).


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Event                                                                               Date
Deadline to Serve Written Discovery34                                               October 8, 2021
Deadline to Serve Responses & Objections to Written Discovery                       October 18, 2021
Document Production Substantially Complete                                          November 5, 2021
Deadline for parties to identify the topics on which they intend to                 November 15, 2021
submit expert reports (other than rebuttal expert reports)
Deadline to Complete Depositions of Fact Witnesses45                                December 1, 2021
Expert Reports Due                                                                  December 5, 2021
Deadline for parties to identify expert witnesses who will submit                   December 17, 2021
rebuttal expert reports
Preliminary Voting Report Deadline                                                  December 21, 2021
Rebuttal Expert Reports Due                                                         December 24, 2021
Final Voting Report Deadline                                                        January 4, 2022
Plan Objection deadline                                                             January 7, 202256
Deadline to Complete Depositions of Expert Witnesses                                January 9, 2022
Deadline to Exchange Deposition Designations and File Motions                       January 13, 2022
in Limine
Confirmation Brief / Plan Reply Deadline                                            January 17, 2022
Deadline to Exchange Deposition Counter-Designations                                January 18, 2022
Deadline to Submit Joint Pretrial Order, Witness and Exhibit Lists, January 20, 2022
Oppositions to Motions in Limine, and for Objections to
Deposition Counter-Designations
Final Pretrial Conference                                           [January 21], 20226 at
                                                                    10:00 a.m. (Eastern Time)
Confirmation Hearing                                                January 24, 2022 at 10:00
                                                                    a.m. (Eastern Time)

         7.       Notwithstanding the deadlines set forth in paragraph 6, (a) with respect to voting

issues, (i) the Debtors will make reasonable efforts to work with the voting agent to produce

interim status information concerning ballots that have been processed, and (ii) in accordance

with paragraph 8, the Participating Parties retain all rights to seek discovery regarding such

interim reports and other materials regarding voting, and (b) with respect to the Plan Supplement
34
     Subject to paragraphs 7 and 8 hereof.
45
     All fact and expert witnesses will have the option of being deposed either in person or by Zoom. If a witness
   chooses to be deposed in person, all parties may attend either in person or by Zoom, at their choosing.
56
     The Debtors and the Participating Parties have agreed that the deadline for Participating Parties to file Plan
   objections will be extended until January 10, 2022.
6
    Subject to the Court’s availability and approval.


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to be filed by Debtors no later than November 30, 2021, (i) Participating Parties shall be

permitted to propound reasonable, appropriate discovery related to items in the Plan Supplement,

and to notice depositions related thereto, and (ii) Debtors have the right, subject to the meet and

confer requirement in paragraph 8, to oppose, and seek protection from, any such Plan

Supplement-related discovery that they believe is not reasonable and appropriate.


       8.       If a Participating Party fails to comply with any of the dates or deadlines set forth

in the foregoing Confirmation Schedule, such failure shall be a waiver of the applicable event by

such Participating Party; provided however, nothing in this order shall preclude any Participating

Party from (a) seeking other or further discovery, or to adjourn the deadlines set forth in

paragraph 6, or (b) opposing such a request. Parties must make reasonable efforts to meet and

confer regarding any request for additional discovery or to change the dates set forth in paragraph

6 prior to seeking Court intervention.


       9.       Discovery of Debtors, Parties, and Third Parties. The Participating Parties are

hereby authorized to serve confirmation-related discovery pursuant to Bankruptcy Rule 9014,

including by seeking documents from the Debtors, other parties in interest, and any third parties.

For the avoidance of doubt, (a) no further motion practice is required prior to serving discovery

under these Protocols and (b) nothing in this paragraph abrogates the requirements of Rule 45 of

the Federal Rules of Civil Procedure.

        10.     Document Production.          The following provisions apply to requests for

production of documents directed to any party (collectively, “Receiving Parties”) in connection

with the Confirmation Proceedings:




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             a. Document Discovery from Advisors. Each Receiving Party that is the recipient of

                a request for the production of documents shall make reasonable efforts to

                produce responsive and non-privileged documents on behalf of any legal,

                financial, or industry advisor (i) currently retained by such Receiving Party in

                connection with these Chapter 11 Cases or (ii) whose documents or information

                are within the Receiving Party’s possession, custody or control, without the need

                for such advisor to be subpoenaed directly.


             b. Assertions of Privilege.    If any Receiving Party intends on withholding or

                redacting any materials on the grounds of privilege, work product, or any other

                type of protection or immunity from disclosure, the Receiving Party and

                requesting Participating Party (the “Requesting Party”) shall meet and confer on

                the scope and format of corresponding privilege logs, including categorical

                privilege logs, consistent with the Protective Order in these Chapter 11 Cases. A

                Receiving Party shall provide its initial privilege log(s) to all applicable

                Requesting Parties within seven (7) calendar days after it substantially completes

                production of documents in response to document requests.


       11.      Expert Testimony. No witness shall be allowed to give expert testimony in

connection with the Confirmation Proceedings without timely, according to the above deadlines,

submitting a report that satisfies the requirements of Fed. R. Civ. P. 26(a)(2)(B) and sitting for a

deposition, which may be attended by any Participating Party.           Any Participating Parties

challenging such report will meet and confer to determine the scheduling of and apportioning of

questioning time during such depositions.




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       12.     Discovery Disputes. Discovery disputes that cannot be resolved by the parties

shall be filed with the Court on letter briefs and on notice to all Participating Parties. No letter

brief shall exceed five (5) single-spaced pages. Opposition letters shall be filed and served

within three (3) days after service of any moving letter brief.


       13.     Status Conferences.         The Court will hold status conferences with the

Participating Parties on the following dates: [ • ],October 19, 2021 at 10:00 a.m. ET; November

10, 2021 at 10:00 a.m. ET; December 2, 2021 at 10:00 a.m. ET; December 14, 2021 at 10:00

a.m. ET; January 10, 2022 at 10:00 a.m. ET; and any other such dates as the Court deems

necessary.


       14.     Service. Within three (3) business days following the deadline to file Notices of

Intent, the Debtors shall file with the Court a list of all Participating Parties and their attorneys

(including email address), which will be the official service list for discovery related to the

Confirmation Proceedings. The Debtors shall amend the service list as necessary and will file

such amend service lists with the Court. The Participating Parties shall serve all discovery

requests and written responses and other formal discovery papers that are not filed by email on

all other Participating Parties. If transmission of voluminous materials as an e-mail attachment is

impractical, materials shall be posted on an FTP or data site and all Participating Parties shall be

provided access to the materials.


       15.     Modifications. The Protocols, dates, and terms in this Confirmation Scheduling

Order may be modified or waived by the consent of Debtors and any applicable Participating

Parties without Court approval, except for any dates involving briefings or submissions to the

Court, or any dates involving conferences or hearings with the Court, including but not limited to




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the following: the deadlines to submit the Pretrial Order, Witness and Exhibit Lists, Motions in

Limine and Oppositions thereto, and for the Final Pretrial Conference.


       16.     Time Periods. All time periods set forth in this order shall be calculated in

accordance with Bankruptcy Rule 9006(a).


       17.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.


       18.     The Debtors are authorized to take all action necessary to effectuate the relief

granted in this Order.


       19.     The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Order.




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